         Case 1:16-mc-01612-CKK Document 50 Filed 12/27/18 Page 1 of 9



                            UNTIED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    IN RE RESTRAINT OF TWENTY REAL
    PROPERTY IN CALIFORNIA AND FLORIDA
    OWNED OR CONTROLLED BY FABRICE                                 No. 16-mc-1612 (CKK)
    TOUIL OR RICHARD TOUIL


                 SUPPLEMENTAL REPLY IN SUPPORT OF MOTION OF
                       REAL ESTATE 26 INVESTMENTS LLC
                 TO INTERVENE AND VACATE RESTRAINING ORDER

        Proposed intervenor Real Estate 26 Investments LLC (“Real Estate 26” or “Movant”),

respectfully submits this supplemental reply memorandum of law in further support of its motion

to vacate the Court’s restraining order (the “Order”) as to 2666 Hutton Drive, Beverly Hills,

California 90210 (“2666 Hutton” or the “Property”).1

                                          ARGUMENT

        Although it was given a second opportunity to respond to Movant’s arguments, the

government’s sur-reply largely fails to do so, and instead requests that the Court “maintain certain

restraints for an additional amount of time” pending a verdict in the French prosecution of Fabrice

Touil. Sur-reply [Dkt. No. 48] at 10. In effect, the government responds to Movant’s due process




1
  On December 4, 2018, the Court permitted the government to file a sur-reply to respond to
arguments that, the government conceded, it could have but chose not to raise in direct opposition
to Movant’s original motion. See Gov. Motion for Leave to File a Sur-reply [Dkt. No. 45] (failing
to assert that the proposed need for a sur-reply was necessitated by issues raised in Movant’s
Replies). In objecting to the proposed sur-reply, Movant requested in the alternative the
opportunity to respond to any filing by the government. See Dkt. No. 47 at 5. The government did
not object to allowing Movant to respond, and the Court’s order permitting the government’s sur-
reply was silent on that issue. Movant therefore respectfully requests that the Court accept this
supplemental reply, as it addresses solely arguments raised by the government for the first time in
its sur-reply.
                                                 1
 SUPPLEMENTAL REPLY IN SUPPORT OF MOTION REAL ESTATE 26 INVESTMENTS
                 LLC TO INTERVENE AND VACATE RESTRAINING ORDER
          Case 1:16-mc-01612-CKK Document 50 Filed 12/27/18 Page 2 of 9



challenge to the pre-conviction restraint of its assets by asking the Court to wait for a verdict, in the

hope that there will be a conviction and a new foreign order that won’t contain the same defects as

are set out in Movant’s papers. To grant the government’s request to wait, therefore, is effectively to

deny Movant any relief and to perpetuate the very due process violations that the government

effectively concedes occurred under binding legal precedent of this Circuit. See generally Mills v.

District of Columbia, 571 F.3d 1304, 1312 (D.C. Cir. 2009) (“It has long been established that the

loss of constitutional freedoms, ‘for even minimal periods of time, unquestionably constitutes

irreparable injury.’” (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976))); see also Am. Coastal Line

Joint Venture, Inc. v. U.S. Lines, Inc., 580 F. Supp. 932, 936 n.4 (D.D.C. 1983) (“As has often been

observed, justice delayed is justice denied.”); Burkett v. Fulcomer, 951 F.2d 1431 (3d Cir. 1991)

(finding due process violation for trial court’s delay in ruling on post-trial motions). The Court should

reject the government’s invitation to simply do nothing, and should instead decide the motions and

vacate the restraints.

        The government’s request that the Court not rule on the motions, though lawless, is

understandable, since it cannot win on the record as presented. The sur-reply fails to address the

fundamental shortcoming of its case: the French order on which this Court’s restraining Order is

based (the “French Order”) does not trace the funds used to purchase the Movant’s Properties to

any alleged crime. The government now concedes this point, although it attempts to minimize its

significance by accusing Movant of being a stickler for “fault[ing] the French court for not tracing

every last euro and dollar, or stating every potential legal basis for forfeiture.” Sur-reply at 7.

However, the requirement that a foreign order “state sufficiently detailed facts to support a

reasonable belief that the government will be able to meet its burden of proof at trial” is not an




                                  2
 SUPPLEMENTAL REPLY IN SUPPORT OF MOTION REAL ESTATE 26 INVESTMENTS
          LLC TO INTERVENE AND VACATE RESTRAINING ORDER
         Case 1:16-mc-01612-CKK Document 50 Filed 12/27/18 Page 3 of 9



empty formality – it is essential to protecting due process and it is the controlling law of this

Circuit. Luan v. United States, 722 F.3d 388 (D.C. Cir. 2013).

       The government’s suggestion that Luan supports the restraint of the Properties is erroneous.

See Sur-reply at 6-7. While it is true that the Hong Kong proceedings in Luan share certain

superficial features with the French proceedings in this case – warrants were issued in both cases;

the foreign orders remained in force during the pendency of the U.S. proceedings – there is a

critical difference. In Luan, the Hong Kong court issued a restraining order, which the U.S.

government sought to enforce, “against the $23.7 million of Luan’s American assets that were

traceable to the alleged criminal activities.” 722 F.3d at 390. An accompanying “affirmation of the

Hong Kong customs inspector made numerous particularized allegations, describing in detail the

unlawful transactions in which Luan engaged, the bank accounts into which he deposited the

proceeds, and the incriminating manner in which he transferred $23.7 million from those bank

accounts to the United States.” Id. at 397. By comparison, the government admits the French Order

here does not trace the Properties to any alleged criminal activities. As a result, it cannot satisfy

the requirements of the forfeiture laws or U.S. conceptions of due process under Luan.

       This shortcoming is particularly illustrated by the government’s request to restrain the

Property. Nothing in the French Order provides any basis to believe that Fabrice Touil, and not

Eliahou Tuil, beneficially owns the Property. Eliahou Tuil and Fabrice Touil are not the same

person, and Eliahou Tuil was not indicted in connection with any part of the VAT fraud scheme.

The French Order states that Real Estate 26 purchased the Property and acknowledges the Eliahou

Tuil is the person known at 2666 Hutton. Dkt. No. 3-1 at 67. Further distinguishing the Property,

it does not share the same managers as are identified for the other properties. See id. at 78. The




                                  3
 SUPPLEMENTAL REPLY IN SUPPORT OF MOTION REAL ESTATE 26 INVESTMENTS
          LLC TO INTERVENE AND VACATE RESTRAINING ORDER
         Case 1:16-mc-01612-CKK Document 50 Filed 12/27/18 Page 4 of 9



government’s papers offer no response to this critical point, and for that additional reason the

government cannot satisfy the requirements to restrain the Property.

       The government is also wrong to fault Movant’s reliance United States v. One Gulfstream

G-V Jet Aircraft, 941 F. Supp. 2d 1 (2013) and United States v. All Assets Held at Bank Julius Baer

& Company, Ltd., 571 F. Supp. 2d 1 (2008). See Sur-reply at 4-5. These are domestic forfeiture

cases that applied the standard set forth in Rule G(2) of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions, which requires the United States to “state

sufficiently detailed facts to support a reasonable belief that the government will be able to meet its

burden of proof at trial.” While the government claims this heightened standard is “inapplicable .

. . when examining a foreign court order to be enforced under § 2467(d)(3),” this is the same rule

and standard quoted by Luan in holding that a court must “determine whether [a foreign defendant]

received procedural due process protections ‘consistent with’ those afforded by the filing of a civil

forfeiture complaint.” 722 F.3d at 396. The government’s disagreement about the applicable legal

standard is not with the Movant, but with the U.S. Court of Appeals for the District of Columbia.

        Next, the government claims there is no support for Movant’s argument in the actual

practice of enforcing foreign court orders restraining property in the United States. In support of

this assertion, the government observes that “unlike a civil forfeiture complaint in the United

States, it is not necessarily true that a restraining order issued abroad would be the document that

initiates a case, puts a defendant on notice of the allegations, or summarizes investigative

findings.” Sur-reply at 5 n.4. The notion that a U.S. court would enforce a foreign restraining order

that does not include even a summary of the allegations or the findings that provide a basis to

restrain the property flies in the face of Luan. Despite observing that this Court “considers the

majority of applications filed by the Department of Justice under 28 U.S.C. § 2467,” the

                                  4
 SUPPLEMENTAL REPLY IN SUPPORT OF MOTION REAL ESTATE 26 INVESTMENTS
          LLC TO INTERVENE AND VACATE RESTRAINING ORDER
         Case 1:16-mc-01612-CKK Document 50 Filed 12/27/18 Page 5 of 9



government cites only three examples of applications that support its position that orders should

be enforced even when they “do not recite any factual findings whatsoever.” Id. Two of the cases

were never challenged by the property owner. See 16-mc-001148-RCL and 14-mc-00602-RWR.

The last one, which was before Your Honor, was decided prior to Luan – a critical fact the

government fails to disclose or explain. See 11-mc-00452-CKK.

       Since the government cannot cure the French Order’s failure to trace the funds used to

purchase the Properties to any alleged crime, the government resorts to attempting to rewrite the

French Order to include other hypothetical bases for seizing the Properties. The government repeats

its earlier response that French law permits the seizure of substitute assets prior to any conviction.

See Sur-reply at 7. Even assuming that to be true as a general matter, the French Order did not

authorize the restraint of the Properties as substitute assets; it authorized only the restraint of

proceeds. Moreover, the government’s own ex parte application was never premised on the

Properties being substitute assets. See Real Estate 26 Reply [Dkt. No. 41] at 6-7 (describing how

the Properties were specifically seized as criminal proceeds rather than substitute assets). The

government cannot save an unconstitutional restraint by rewriting the French Order, its ex parte

application, and this Court’s Order to manufacture a new basis on which to restrain the Properties.

       Even if the government could rewrite the French Order, it would still not authorize restraint

of the Property because Eliahou Tuil is a third-party who has neither been named as a defendant

nor indicted in any legal proceedings, therefore the Property cannot be seized as a substitute asset.

United States v. Saccoccia, 354 F.3d 9, 15 (1st Cir. 2003) (“The implicit limitation in § 1963(m)

– the ‘substitute assets’ provision – that the government may reach only the defendant’s substitute

assets and not those of a third party – is similar in nature. Forfeiture is an in personam criminal

remedy, targeted primarily at the defendant who committed the criminal offense.”) (emphasis

                                  5
 SUPPLEMENTAL REPLY IN SUPPORT OF MOTION REAL ESTATE 26 INVESTMENTS
          LLC TO INTERVENE AND VACATE RESTRAINING ORDER
          Case 1:16-mc-01612-CKK Document 50 Filed 12/27/18 Page 6 of 9



added). The government ignored this critical distinction in the Application and continues to ignore

this distinction in its subsequent filings.

        The government also attempts to rewrite its ex parte application by observing that 28 U.S.C.

§ 2467(d)(3) permits the seizure of property based on “an affidavit describing the nature of the

proceeding or investigation underway in the foreign country and setting forth a reasonable basis to

believe that the property to be restrained will be named in a judgment of forfeiture at the conclusion

of such a proceeding.” Sur-reply at 3. But the government’s ex parte application was not premised

on such an affidavit and no such affidavit has ever been supplied to this Court. Instead it was based

on a foreign restraining order, which the government is attempting to supplement with its own

unsworn description of the due process rights purportedly accorded Mr. Touil in France.2 In the

absence of any affidavit, however, this provision of § 2467(d)(3) is irrelevant. And even if this

provision were somehow relevant to this motion, its express terms contradict the government’s

suggestion that a U.S. court is merely supposed to rubber stamp foreign orders even when they

“do not recite any factual findings whatsoever.” Sur-reply at 5 n.4. After all, this provision of §

2467 specifies that the affidavit must set forth “a reasonable basis to believe that the property to

be restrained will be named in a judgment of forfeiture at the conclusion of such a proceeding,”

which is an invitation for a court to examine the affidavit and assess the likelihood of success on

the merits, effectively permitting the Court to grant a preliminary injunction. That is, the statute

permits the Court evaluating a request to restrain U.S. property in favor of a foreign criminal



2
  The Court should not accept the government’s unsworn and uncited proffers. For example, the
sur-reply repeats the insinuation the Fabrice Touil has violated the provisions of his French bail.
See Sur-reply at 3 & n.1. But as set forth previously, this is not correct. See Ocean 26 and Mondrian
1026 Amended Reply [Dkt. No. 44] at 2 n.2. Movant respectfully submits that this issue is entirely
irrelevant to the motion before the Court, but to the extent Your Honor believes otherwise, it was
incumbent upon the government to provide evidence.
                                                   6
 SUPPLEMENTAL REPLY IN SUPPORT OF MOTION REAL ESTATE 26 INVESTMENTS
                 LLC TO INTERVENE AND VACATE RESTRAINING ORDER
         Case 1:16-mc-01612-CKK Document 50 Filed 12/27/18 Page 7 of 9



proceeding to consider two types of evidence: either an order of a foreign court restraining the

property, or an affidavit describing the foreign proceedings and setting out an evidentiary basis to

believe that property will be subject to forfeiture at their conclusion. But either way, under both

the statute (§ 2467(d)(1)) and the D.C. Circuit’s decision in Luan, U.S. notions of due process must

be observed.

       Finally, the government’s sur-reply does absolutely nothing to address Movant’s argument

that under binding Supreme Court precedent, pre-conviction criminal restraint of substitute assets

is an impermissible violation of due process. See Real Estate 26 Reply [Dkt. No. 41] at 8-9. Rather

than attempt to respond, the government contends that even if U.S. law does not permit pretrial

restraint of substitute assets, it is somehow permissible so long as foreign law permits it. Sur-reply

at 9. With respect to the government, that is not the way the Constitution works. U.S. proceedings

and the seizure or restraint of assets in the United States are subject to American conceptions of

due process. See Fuentes v. Shevin, 407 U.S. 67, 86 (1972) (“Any significant taking of property

by the State is within the purview of the Due Process Clause.”). The government’s position would

result in the absurd conclusion that property that cannot be constitutionally restrained under U.S.

law may nevertheless be restrained by a U.S. court on the basis of foreign law. If the government’s

argument were correct, a corrupt and dictatorial regime (which nonetheless was a “treaty partner”

with the United States, Sur-reply at 2, 6) could issue an order or present an affidavit demanding

the seizure of all American assets belonging to a political dissident, journalist, or academic pending

his or her inevitable conviction on some set of trumped-up charges. This threat is especially real,

moreover, in light of the government’s argument that the foreign order does not even need to recite

any factual findings. The Court should not accept the government’s argument to overlook binding




                                  7
 SUPPLEMENTAL REPLY IN SUPPORT OF MOTION REAL ESTATE 26 INVESTMENTS
          LLC TO INTERVENE AND VACATE RESTRAINING ORDER
         Case 1:16-mc-01612-CKK Document 50 Filed 12/27/18 Page 8 of 9



Supreme Court precedent and instead embrace foreign law to the exclusion of the U.S.

Constitution.

                                       CONCLUSION

       For the foregoing reasons, the Order should be vacated as to the Property.



Dated: December 27, 2018                            Respectfully submitted,


                                                    ____/s/ Kelley C. Barnaby_____________
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                                 8
SUPPLEMENTAL REPLY IN SUPPORT OF MOTION REAL ESTATE 26 INVESTMENTS
         LLC TO INTERVENE AND VACATE RESTRAINING ORDER
        Case 1:16-mc-01612-CKK Document 50 Filed 12/27/18 Page 9 of 9



                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing Supplemental Reply in Support of

Motion to Intervene and Vacate Restraining Order and Memorandum in Support was

served this 27th day of December 2018 in accordance with the Court’s CM/ECF Guidelines.


                                                 /s/ Kelley C. Barnaby
                                                 Kelley C. Barnaby




SUPPLEMENTAL REPLY IN SUPPORT OF MOTION REAL ESTATE 26 INVESTMENTS
         LLC TO INTERVENE AND VACATE RESTRAINING ORDER
